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                                                               Clerk, U.S. District Court, ILCD

            IN THE UNITED STATES DISTRICT COURT
            FOR THE CENTRAL DISTRICT OF ILLINOIS
                    SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
                  Plaintiff,              )
                                          )
      v.                                  )      Case No. 20-cr-30048
                                          )
RAFAEL MERCADO BERRIOS,                   )
                                          )
                  Defendant.              )

                                  OPINION

SUE E. MYERSCOUGH, U.S. District Judge:

      Before the Court is Defendant Rafael Mercado Berrios’ Motion

to Suppress Statements and Evidence (d/e 47). For the reasons set

forth below, Defendant’s motion is DENIED.

                               I. BACKGROUND

       From August 24, 2020, to August 28, 2020, the Federal

Bureau of Investigation conducted an undercover operation with

the assistance of other state and federal agencies.1 During the


1 At the evidentiary hearing on the Motion to Suppress, Defendant moved to

admit the operational plan for the undercover investigation. Defendant
tendered to the Court a copy of the operational plan for the undercover
investigation conducted in Rock Island and the Government tendered a copy of
the operational plan for the undercover investigation conducted in Springfield.
The Court has reviewed both plans and finds that they are not relevant to the
issues raised in Defendant’s Motion to Suppress and therefore refuses
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investigation, undercover agents acting as chatters posed as minors

on online chat applications and social media websites. Defendant

engaged one of the undercover agents, who was posing as ‘Alexis,’

on the MeetMe application before moving the conversation to text

messages. In the text message conversation, Defendant and Alexis

arranged to meet on August 28, 2020. Unbeknownst to Defendant,

the location for the meeting was a target house used by the

agencies involved in the undercover operation. When Defendant

arrived at the target house, he was arrested by law enforcement

officers.

      After taking Defendant into custody, agents attempted to

interview Defendant while still at the target house. The interview at

the target house began at 5:50 p.m. according to the recording of

the interview. Defendant was read his Miranda rights, and he

signed an advice of rights form consenting to speak to the agents

without a lawyer present. Shortly after agents began questioning

Defendant though, Defendant requested a lawyer and the agents

ended their questioning. After collecting Defendant’s personal



admission of the operational plan on that basis without reaching the
Government’s claims of privilege.
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identifying information and a DNA swab, the agents advised

Defendant that he would be going to jail. At this point, Defendant

began breathing heavily, became highly emotional, and collapsed on

the floor. Agents called 911, and an ambulance arrived to transport

Defendant to a local hospital. Defendant was initially unresponsive

while being transported to the hospital, but he regained

consciousness about halfway through the ambulance ride and

became combative with the emergency medical personnel.

     Defendant arrived at the hospital at approximately 7:15 p.m.

and was noted to be stuporous. According to the emergency room

doctor who initially evaluated Defendant, Defendant’s vital signs

were unremarkable, but he did not respond to a sternal rub, yet he

did appear to be protecting his airway. Shortly after arriving at the

hospital, Defendant spontaneously regained consciousness and

once again became combative and began yelling. Defendant was

then administered 2 mg of Ativan (lorazepam) intravenously at

approximately 7:23 p.m. Lorazepam is a benzodiazepine used to

treat anxiety.

     Approximately two hours later, Detective Howard, who had

remained at the hospital with Defendant, contacted one of the

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agents to ask them to return to the hospital because Defendant had

asked to speak with them. Special Agents Roth and Bowers, along

with Detective Howard, then met with Defendant in a hospital room.

Defendant was seated upright on the hospital bed and the three law

enforcement officers stood around the end of the bed about six feet

from Defendant. The second interview of Defendant began at

approximately 9:32 p.m. according to the recording of that

interview.

     The agents again advised Defendant of his Miranda rights at

the beginning of the second interview. After advising Defendant of

his right to speak to a lawyer before answering any questions,

Defendant said “How is that possible ? . . . [because] I’m here right

now. So, how would a lawyer come in right now to help me?”

Detective Howard advised Defendant that, if Defendant had an

attorney on retainer who could come to the hospital, that would be

one way in which an attorney could be present. Otherwise,

Detective Howard explained, an attorney would be assigned to

Defendant. Defendant then said, “I can get an attorney, but I have

to call them and they have to come over.” At that point, Detective

Howard again advised Defendant of his right to talk to a lawyer

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before answering any questions and asked if Defendant understood.

Defendant responded, “Yes, I understand.” Detective Howard then

finished advising Defendant of his Miranda rights and provided a

second advice of rights form for Defendant to sign. Defendant

asked if it said anywhere on the form that Defendant was under

arrest. Detective Howard asked Defendant whether he remembered

being handcuffed and advised that he was in custody. Special

Agent Roth further explained Defendant’s Miranda rights to him

and told Defendant that the agents would try to have a conversation

with Defendant to get his side of the story. Defendant stated “But,

even in custody doesn’t really mean that I’m gonna go straight to

jail” to which Detective Howard responded, “Like I said, I don’t know

the answer to that. Ok? And, I don’t know that because I don’t

know what you’re going to tell me?” At that point, Defendant said

“Ok, ok, I’ll start I guess.” The agents then proceeded to question

Defendant. During the questioning, the agents asked Defendant if

they could search Defendant’s cell phone and camera. Defendant

asked clarifying questions about what the agents would be

searching the devices for, and he was presented with a consent to

search form for the camera and phone which was read to Defendant

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and which Defendant then signed. Defendant made incriminating

statements during the interview and incriminating evidence was

recovered from the search of the cell phone.

     On September 16, 2020, Defendant was charged in a two-

count Indictment (d/e 17). Count One charged Defendant with

attempted enticement of a minor in violation of 18 U.S.C. § 2422(b)

and Count Two charged Defendant with use of interstate facilities to

transmit information about a minor in violation of 18 U.S.C. § 2425.

On September 23, 2020, Defendant entered a plea of not guilty to

both counts.

     On May 17, 2021, Defendant filed his Motion to Suppress

Statements and Evidence, seeking suppression of any statements

made during the interview conducted with Defendant at the

hospital and any evidence recovered from the search of Defendant’s

electronic devices. First, Defendant argues that the statements at

the hospital were obtained in violation of his Miranda rights

because he effectively invoked his right to counsel. Alternatively,

Defendant argues that any waiver of his Miranda rights was not

knowingly, voluntarily, and intelligently made under the totality of

the circumstances. Next, Defendant argues that his statements

                            Page 6 of 30
themselves were not voluntary. Finally, for the same reasons he

seeks suppression of his statements, Defendant argues that the

consent to search his electronic devices was constitutionally

defective.

     On May 21, 2020, the Government filed its Response to Motion

to Suppress (d/e 64). The Government contends that Defendant

did not unequivocally invoke his Miranda rights during the hospital

interview, that Defendant’s Miranda waiver was knowing, voluntary,

and intelligent, and the Defendant’s consent to search his electronic

devices was likewise valid for the same reasons.

     On May 27, 2021, the Court held an evidentiary hearing on

the Motion to Suppress. The Court heard testimony from Special

Agent Wright, the FBI case agent, Special Agent Roth, one of the

two agents who conducted the hospital interview of Defendant, and

Dr. Jude Regis, the emergency room physician who treated

Defendant at the hospital. At the conclusion of the hearing,

Defendant sought to admit an Abstract prepared by Dr. Philip Pan.

The Government subsequently sought, and was granted, leave to

file an evaluation by Dr. Terry Killian (d/e 99) to respond to Dr.

Pan’s evaluation. Defendant has filed a Response (d/e 100) to Dr.

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Killian’s report and to case law submitted by the Government.

                            II. ANALYSIS

     The parties do not dispute that the interview conducted at the

hospital was a custodial interrogation. “A defendant’s challenge to

the admission of statements made during a custodial interrogation

presents two separate questions: whether he received and validly

waived his Miranda rights, and whether his statements themselves

were voluntary.” United States v. Outland, 993 F.3d 1017, 1021

(7th Cir. 2021) (citations omitted). The first question ensures that

law enforcement officers convey Miranda warnings at the beginning

of a custodial interrogation and secure a waiver of those rights

before proceeding. Id. (citations omitted). The second question

asks more broadly “whether, in the totality of the circumstances,

the defendant’s statements to authorities were voluntary.” Id.

(citations omitted). For the reasons that follow, the Court finds that

Defendant did not unequivocally invoke his right to counsel during

the hospital interview, that Defendant’s Miranda waiver was valid,

that the statements Defendant made during the hospital interview

were voluntary, and that Defendant’s consent to search his

electronic devices was valid.

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A.   Defendant Did Not Unequivocally Invoke His Right to
     Counsel During the Interview at the Hospital.

     Defendant first argues that his statements made at the

hospital should be suppressed because they were the product of

custodial interrogation conducted after Defendant invoked his right

to counsel. Defendant argues that the statements he made

regarding the right to counsel during the hospital interview

constitute an effective invocation of that right and, therefore, the

custodial interrogation should have ended at that point and that

any statement made after he invoked the right must be suppressed.

     “[W]hen an individual in custody ‘states that he wants an

attorney, the interrogation must cease until an attorney is present.’”

United States v. Wysinger, 683 F.3d 784, 793 (7th Cir. 2012)

(quoting Miranda v. Arizona, 384 U.S. 436, 474 (1966)). An

accused who has “expressed his desire to deal with the police only

through counsel, is not subject to further interrogation by the

authorities until counsel has been made available to him, unless

the accused himself initiates further communication, exchanges, or

conversations with the police.” Edwards v. Arizona, 451 U.S. 477,

484–85 (1981). Here, the parties do not dispute that Defendant was


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in custody at the time of the hospital interview, the first part of the

Miranda analysis. “The rule expressed in Miranda and Edwards

next requires courts to engage in two distinct inquiries[: f]irst,

courts must determine whether the suspect actually invoked his or

her right to counsel[; s]econd, if the accused invoked his right to

counsel, courts may admit his responses to further questioning

only on finding that he (a) initiated further discussions with the

police, and (b) knowingly and intelligently waived the right he had

invoked.” Wysinger, 683 F.3d at 793 (quoting Smith v. Illinois, 469

U.S. 91, 95 (1984)).

     Because it is undisputed that Defendant was in custody at the

time of the hospital interview, the Court must next determine

whether Defendant invoked his right to counsel. To be effective, a

request for counsel must be unambiguous. Davis v. United States,

512 U.S. 452, 459 (1994). “If a suspect makes an equivocal or

ambiguous reference to a lawyer, a reference that a reasonable

officer would interpret as a statement that the suspect might be

invoking the right to counsel, there is no requirement that

questioning end.” Wysinger, 683 F.3d at 793 (citing Davis, 512 U.S.

at 459)). In determining whether a suspect clearly invoked the right

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to counsel, the Court must consider the circumstances in which the

statement was made as well as the words employed. United States

v. Shabaz, 579 F.3d 815, 819 (7th Cir. 2009).

     Here, Defendant unequivocally invoked his right to counsel

during the initial interview at the target house when he stated “I

want a lawyer.” Agents then terminated questioning and collected

only Defendant’s personal identifying information such as his full

name and Social Security number. The agents only approached

Defendant again when Defendant asked that the agents come to the

hospital to speak with him. Thus, Defendant initiated the second

interview. When the Defendant was read his Miranda rights again

for the second time that night, Defendant’s questioning regarding

the right to counsel (which he had unequivocally invoked just hours

before) was not a clear invocation of the right. Rather Defendant

asked clarifying questions about the right, such as the logistics of

how an attorney might be made available while Defendant was in

the hospital. On similar facts, such statements have been held not

to constitute an expression of a present desire to consult with

counsel. For example, in United States v. Shabaz, 579 F.3d 815,

819 (7th Cir. 2009), the court held that the defendant’s statement

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“Am I going to be able to get an attorney” did not constitute a

present desire to consult with counsel. Likewise, in Lord v.

Duckworth, 29 F.3d 1216, 1220-21 (7th Cir. 1994), the Seventh

Circuit held that the defendant’s question “I can’t afford a lawyer

but is there anyway I can get one?” was not a clear request for

counsel. Considering the words Defendant employed here then—

“how would a lawyer come in right now to help me?” and “I can get

an attorney, but I have to call them and they have to come over”—

the statements did not evince a present desire to consult with

counsel. Defendant’s statement that he “can get an attorney” is not

the same as stating that he wants an attorney, or that he would like

to call an attorney. Similar to the defendant’s statement in Lord,

Defendant’s statement here is best understood as a statement that

Defendant could afford an attorney, particularly given the context in

which Detective Howard had just explained that if Defendant had

an attorney on retainer, that attorney could be present, otherwise

an attorney would be assigned to Defendant. Defendant’s

statements at most indicate that he was contemplating whether he

needed the assistance of a lawyer, not that he was requesting a

lawyer at that time. Cf. Wysinger, 683 F.3d at 795 (defendant’s

                            Page 12 of 30
question “I mean, but can I call [a lawyer] now?” was, in context, an

unequivocal request for counsel).

     Likewise, consideration of the circumstances in which the

statements were made strengthens the conclusion that the

statements were not a clear invocation of the right to counsel.

Recall that Defendant had unambiguously invoked his right to

counsel just hours earlier. At that point, questioning ceased. But

during the hospital interview, after making the statements

addressed above, Defendant continued to engage with the agents,

signed the advice of rights form, and indicated that he wished to

begin the interview by saying “Ok, ok, I’ll start I guess.”

     Having concluded that Defendant did not unequivocally invoke

the right to counsel during the hospital interview, the Court moves

to the next question—whether Defendant knowingly, intelligently,

and voluntarily waived the right.

B.   Under the Totality of the Circumstances, Defendant’s
     Miranda Waiver was Knowing, Intelligent, and Voluntary.

     Alternatively, Defendant argues that his waiver of Miranda

rights prior to the hospital interview was not knowing, intelligent,

and voluntary under the totality of the circumstances. Defendant


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argues that the totality of the circumstances weighs against the

voluntariness of the waiver in view of Defendant’s prior invocation

of his right to counsel combined with what Defendant contends was

his “intoxication” at the time of the waiver due to the administration

of lorazepam.

     A valid waiver of Miranda rights must be knowingly,

intelligently, and voluntarily made. Miranda, 384 U.S. at 444. “The

relinquishment of the right must have been voluntary in the sense

that it was the product of a free and deliberate choice rather than

intimidation, coercion, or deception.” Moran v. Burbine, 475 U.S.

412, 421 (1986). And to be knowing and intelligent, “the waiver

must have been made with a full awareness of both the nature of

the right being abandoned and the consequences of the decision to

abandon it.” Id. A waiver is involuntary “when it was given in

circumstances that were sufficient to overbear” the speaker’s free

will. Johnson v. Pollard, 559 F.3d 746, 753 (7th Cir. 2009) (citing

Lynumn v. Illinois, 372 U.S. 528, 534 (1963)) (other citation

omitted). “Factors considered in the analysis include the

defendant’s background, experience, and conduct.” United States

v. Huerta, 239 F.3d 865, 873 (7th Cir. 2001) (citing North Carolina

                           Page 14 of 30
v. Butler, 441 U.S. 369, 374-75 (1979)). “When the interrogating

officers reasonably should have known that a suspect is under the

influence of drugs or alcohol, a lesser quantum of coercion may be

sufficient to call into question the voluntariness of the confession.”

United States v. LeShore, 543 F.3d 935, 940-41 (7th Cir. 2008)

(quoting United States v. Haddon, 927 F.2d 942, 946 (7th Cir.

1991)) (alteration omitted).

     Here, Defendant contends that his use of medical marijuana

earlier in the day and the administration of lorazepam in the

emergency room made him particularly susceptible to coercive

tactics by the agents and, therefore, weighs against voluntariness.

Defendant has presented the expert report of Dr. Susan Skolly in

support of this contention. Dr. Skolly opines that Defendant was

“under the influence of lorazepam” at the time of the hospital

interview, that Defendant’s behavior was consistent with the

disinhibiting effects of lorazepam, and that “it is likely the

Defendant was incapable of thinking through the consequences of

his actions, while under the influence of lorazepam . . . .” Def.’s

Mot. to Suppress, Ex. A. 13-14. At the end of the evidentiary

hearing on Defendant’s Motion to Suppress, Defendant also sought

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to admit a Fitness to Stand Trial Evaluation prepared by Dr. Phillip

Pan, titled as an ‘Abstract.’ The Government has filed an Objection

to the Admission of Defendant’s Exhibit Entitled Abstract, d/e 91,

arguing that Dr. Pan’s report should be excluded on the basis of the

report’s untimely disclosure.

     In response to Dr. Skolly’s report, the Government has

submitted the report of Dr. James O’Donnell. See United States’

Disclosure of Expert Witness, d/e 78. The Government has also

filed a report prepared by Dr. Terry Killian, which addresses Dr.

Skolly, Dr. Pan, and Dr. O’Donnell’s reports. See Forensic

Psychiatric Evaluation, d/e 99. Defendant has further filed a

Response in Opposition to the Use of Dr. Killian’s Report as

Improper Opinion on All Points Except Mental Health Diagnoses

and Response to Additional Case Law on Experts. d/e 100. The

Government subsequently sought, and was granted, leave to file a

Reply to the Defendant’s Response. d/e 102.

     Defendant objects to the admission of Dr. Killian’s report

based on Federal Rules of Evidence 701, 702, and 703, and

Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993). The

Court understood Defendant to seek admission of Dr. Pan’s report

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for a limited purpose at the suppression hearing only. Likewise, the

Government has thus far not indicated its intent to use Dr. Killian’s

report at trial, but merely for purposes of the motion to suppress.

Federal Rule of Evidence 104(a) makes explicit that the Court “is

not bound by evidence rules, except those on privilege” at an

evidentiary hearing on a motion to suppress. Defendant argues

that “Daubert’s gatekeeping function ‘applies to all expert

testimony.’” Resp. in Opposition to the Use of Dr. Killian’s Report 6

(quoting Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 148

(1999)). But the Seventh Circuit has stated that there is no

requirement for a district judge to conduct a Daubert analysis

during a suppression hearing. See United States v. Ozuna, 561

F.3d 728, 736 (7th Cir. 2009).

     The Court has reviewed the reports of each of the experts and

the case law provided by the parties and finds the experts qualified

to render the opinions given insofar as those opinions pertain to the

suppression hearing. Any objections to admissibility at trial will be

addressed if or when they arise.

     In addition to the opinions noted above, Dr. Skolly’s report

also states that in approximately ten percent of individuals,

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lorazepam may have “disinhibiting effects.” According to Dr. Skolly,

“[b]enzodiazepines including lorazepam may lead to a loss of

restraint that governs normal social behavior and a reduced ability

to concentrate on the external social cues that guide appropriate

behavior.” Skolly Report ¶ 26. Additionally, “benzodiazepine-

induced inhibition of neurotransmission may result in a decrease in

the restraining influence of the control and command area of the

brain (the prefrontal cortex), leading to excitement, agitated toxic

psychosis, increased anxiety, hostility, and rage in addition to the

loss of inhibitory control.” -
                             Id.
                               -

     At the evidentiary hearing, Dr. Regis testified that persons

with personality disorders may be particularly susceptible to

lorazepam’s disinhibiting effects. According to Dr. Pan’s report,

“[D]efendant exhibits significant Paranoid Personality Disorder

traits . . . as well as Borderline personality traits,” although Dr. Pan

also expressed his reluctance to diagnose a personality disorder

after only limited contact or experience with a patient. Pan Report

16 (emphasis omitted).

     Dr. O’Donnell states in his affidavit that after reviewing the

recording of the hospital interview, “[t]here is no evidence of

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[Defendant] being under the influence of lorazepam.” O’Donnell Aff.

¶ 17. Dr. O’Donnell notes that Defendant spoke clearly, was

responsive, understood the questions, answered in full sentences,

and did not display slurring, hesitance, or difficulty finding words.

Id. Dr. O’Donnell opines that Defendant was not experiencing a

paradoxical reaction to lorazepam and that he exhibited no

manifestations of benzodiazepine toxicity. Id. at ¶ 24. After

reviewing the records, Dr. O’Donnell also noted that Defendant was

prescribed alprazolam (Xanax), a benzodiazepine that is at least

twice as potent as lorazepam. Id. at ¶ 22. Dr. O’Donnell suggests

that Defendant then may have had some tolerance to

benzodiazepines and thus been less susceptible to adverse effects of

lorazepam. Id. at ¶ 23. Both Dr. O’Donnell and Dr. Killian state in

their respective reports that the ‘disinhibiting effects’ of lorazepam

refer not to loss of restraint or insight, but to so-called paradoxical

reactions—that is rather than calming the person, the drug may

make some patients more aggressive or violent. See O’Donnell Aff.

¶ 19; Killian Report 24.

     The Court listened to the recordings of both interviews of

Defendant during a break in the evidentiary hearing. The Court

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noted that for the first few minutes of the hospital interview,

Defendant did seem to be speaking slowly and softly, although the

Court would not characterize Defendant’s speech as ‘slurred.’ At

the evidentiary hearing, Dr. Regis testified that when he medically

cleared Defendant for discharge—meaning that Defendant could be

transported to jail—Defendant became highly agitated. Dr. Regis

surmised that that Defendant was malingering in order to delay his

release from the hospital. Although Dr. Regis did not note his

opinion on whether Defendant was malingering in the medical

records, Dr. Regis did note that when Defendant arrived at the

hospital, Defendant was stuporous and did not respond to a sternal

rub, but did appear to be protecting his airway. This is additional

evidence that Defendant was exaggerating his symptoms. ---
                                                       See

Killian Report 23 (noting that Dr. Regis’ note that Defendant was

protecting his airway suggests that Dr. Regis suspected Defendant

was malingering). Finally, the Court notes that while Defendant’s

speech may have been slow and soft at first, as the interview

progressed, Defendant’s speech very quickly became stronger. As

the agents began to challenge Defendant, Defendant appeared to

perk back up very quickly, with no noticeable impairment

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whatsoever. And rather than exhibiting signs of impairment or

intoxication, when the agents began to challenge Defendant,

Defendant began to push back—providing an alternative reason for

why he was at the target home, why he planned to meet with Alexis,

and why he had alcoholic seltzers and personal lubrication in his

car. The Court did not hear in the recording the “obvious

impairment” that Defendant refers to. Agent Roth also testified at

the evidentiary hearing that at no point during his interaction with

Defendant did he believe Defendant to be intoxicated.

     In Defendant’s Motion to Suppress, he also states that he had

consumed medical marijuana earlier in the day prior to his arrest.

Defendant contends that the cumulative effect of the medical

marijuana and the lorazepam is significant to the Court’s inquiry on

voluntariness. Mot. to Suppress 14 n.4 (citing to Dr. Skolly’s

report). Dr. Skolly, however, in the section of her report entitled

“Lorazepam’s Mechanism of Action,” states that “it is possible the

Defendant was under the influence of tetrahydrocannabinol (THC),

the active constituent of medical marijuana at the time of the

alleged crime and during the two interviews.” ¶ 30 (emphasis

added). Dr. Skolly’s opinions in her report, though, are limited to

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the effects of lorazepam on Defendant. See ¶¶ 33-34. Although Dr.

Skolly notes generally that as a central nervous system (CNS)

depressant, marijuana can have cumulative effects in conjunction

with other CNS depressants like lorazepam, Dr. Skolly does not

offer any opinion on the cumulative effects of marijuana and

lorazepam as they specifically relate to Defendant. Moreover, while

Defendant’s drug screen at the hospital revealed the presence of

THC, Dr. O’Donnell’s report clarifies that the drug screen only

confirms the presence of THC in Defendant’s system, the drug

screen does not establish intoxication, and that any suggestion of

intoxication or impairment due to THC is speculative. O’Donnell

Aff. ¶ 24(f). Additionally, according to Dr. Pan’s report, Defendant

has been using medical marijuana to treat his posttraumatic stress

disorder (PTSD) for the past three years. Pan Report 13. Dr. Pan’s

report states that Defendant consumes approximately one ounce of

medical marijuana each week. Id. According to Dr. Killian’s report,

just as Defendant likely had developed some tolerance to the effects

of benzodiazepines, Defendant also “had presumably adapted

psychologically to any sedating effect that marijuana might have

given him initially.” Killian Report 20. Defendant has not

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presented sufficient evidence that the presence of THC in his

system had any appreciable effect on whether Defendant’s Miranda

waiver was knowing, intelligent, and voluntary.

     While Defendant contends that the administration of

lorazepam made Defendant particularly susceptible to the

questioning agent’s “coercive tactics,” the only coercion Defendant

points to are the agents’ statements concerning whether or not

Defendant would be able to go home that night. Relevant here,

“while a false promise of leniency may render a statement

involuntary, police tactics short of the false promise are usually

permissible.” United States v. Villalpando, 588 F.3d 1124, 1128

(7th Cir. 2009); see also United States v. Kontny, 238 F.3d 815, 817

(7th Cir. 2001) (“Trickery, deceit, even impersonation do not render

a confession inadmissible . . . unless government agents make

threats or promises.”). To succeed on a false-promise claim, a

defendant must show “that his interrogator made him a promise

that was materially false and thus sufficient to overbear his free

will.” Villalpando, 588 F.3d at 1128 (“The reason we treat a false

promise differently than other somewhat deceptive police tactics

(such as cajoling and duplicity) is that a false promise has the

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unique potential to make a decision to speak irrational and the

resulting confession unreliable.”). Here, at no point did the agents

falsely promise Defendant that he could go home if he acquiesced to

the interview. In response to Defendant’s questioning on that point,

Detective Howard told Defendant that she “asked [her] boss” but

that she was just assisting another agency, so “it’s not like I can

call my boss cuz’ it’s not my boss. . . I’m going to be straight with

you. I don’t know if you’re gonna go . . . if you will be able to go

home.” Arguably the closest Detective Howard came to suggesting

that Defendant might be able to go home that night was her

statement that “I think it’s kind of depending on the outcome of—

you know, I don’t know what you’re going to say to me when I ask

you questions.” And even that statement—an example of the Reid

Technique—indicated at most only a possibility that Defendant

might have been able to go home depending on the answers

Defendant gave; the statement was not a promise that Defendant

would be able to go home if he spoke to the agents.

       When read his Miranda rights, Defendant asked appropriate

questions to clarify his rights and then responded affirmatively

when asked if he understood those rights. On these facts, the

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Court finds Defendant’s waiver of those rights was knowing and

intelligent. And in the Court’s review of the recording, considering

also the expert opinions rendered in this case, there is no evidence

that Defendant was intoxicated—much less “obviously

intoxicated”—or that the tactics employed by the agents were

sufficient to establish that Defendant’s will was overborne. While

Defendant had little familiarity with the criminal justice system,

under the totality of the circumstances, there is not sufficient

evidence that the administration of lorazepam to Defendant several

hours earlier interfered with his capacity to make a knowing,

intelligent, and voluntary waiver of his Miranda rights during the

hospital interview. In reaching this conclusion, the Court has also

considered the fact that Defendant himself initiated the second

interview and that Defendant was comfortable enough during the

interview to correct the agents when they misstated facts.

C.   Defendant’s Statements During the Hospital Interview
     Were Voluntarily Made.

     Next Defendant argues that his statements made during the

hospital interview should be suppressed because the statements

themselves were involuntarily made under the totality of the


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circumstances.

     The factors employed to evaluate the overall voluntariness of a

statement are the same as those used to evaluate whether a

suspect voluntarily waived his Miranda rights. Ruvalcaba v.

Chandler, 416 F.3d 555, 562 (7th Cir. 2005).      A defendant’s

statements to law enforcement officers are voluntary if they are “the

product of a rational intellect and free will and not the result of

physical abuse, psychological intimidation, or deceptive

interrogation tactics that have overcome the defendant’s free will.”

United States v. Gillaum, 372 F.3d 848, 856 (7th Cir. 2004)

(internal quotation marks omitted). For a statement to be found

involuntary within the meaning of the Due Process Clause of the

Fourteenth Amendment, coercive police activity must be present.

Id. “A diminished mental state is only relevant to the voluntariness

inquiry if it made mental or physical coercion by the police more

effective.” United States v. Toro, 359 F.3d 879, 885 (7th Cir. 2004).

     Defendant, in arguing that his statements made during the

hospital interview were involuntary, notes that he had been

administered lorazepam upon his arrival at the hospital. But for

the same reasons discussed above, the Court has not been

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presented with sufficient evidence from which to find that

Defendant was intoxicated or impaired at the time of the interview.

To the contrary, Defendant appears lucid and coherent. But, even

assuming that Defendant were intoxicated, Defendant would also

need to establish that his statements were coerced. And again, for

the same reasons discussed previously, Defendant has failed to

show that his statements were coerced. Therefore, even though

Defendant had been administered lorazepam several hours prior,

his statements to the agents at the hospital were not involuntary

and need not be suppressed.

F.   Defendant’s Consent to Search His Electronic Devices was
     Knowing, Intelligent, and Voluntary

     For the same reasons that Defendant urges the Court to

suppress his statements made during the hospital interview,

Defendant also urges the Court to suppress any evidence recovered

from the search of Defendant’s electronic devices based on

Defendant’s consent to search obtained during the hospital

interview on the basis that the consent to search was not knowing,

intelligent, and voluntary.

     Whether consent to search is voluntary is also a question of


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fact dependent upon the totality of the circumstances. Schneckloth

v. Bustamonte, 412 U.S. 218, 227 (1973). Factors to be considered

in determining whether consent to search was voluntary include:

“(1) the person’s age, intelligence, and education; (2) whether he

was advised of his constitutional rights; (3) how long he was

detained before he gave his consent; (4) whether his consent was

immediate, or was prompted by repeated requests by the

authorities; (5) whether any physical coercion was used; and (6)

whether the individual was in police custody when he gave his

consent.” United States v. Santiago, 428 F.3d 699, 704-05 (7th Cir.

2005) (quoting United States v. Raibley, 243 F.3d 1069, 1076 (7th

Cir. 2001) (alterations omitted). As before, whether Defendant was

intoxicated at the time he gave his consent to search is but one

factor to consider in the analysis. See United States v. Scheets, 188

F.3d 829, 839-40 (7th Cir. 1999) (citing United States v. Gay, 774

F.2d 368, 377 (10th Cir. 1985)) (“The mere fact that an individual is

intoxicated does not render consent involuntary. It is simply

another factor to be taken in consideration when assessing the

totality of the circumstances in considering the voluntariness of

consent.”).

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     Here, as before, Defendant did not have much experience with

law enforcement and he was in custody at the time he gave the

agents consent to search his electronic devices. But Defendant’s

consent to search, which came midway through the hospital

interview, was not the result of repeated requests by the agents, nor

did the agents use physical coercion to obtain Defendant’s consent.

Rather, when the agents asked Defendant if they could search his

cell phone and camera, Defendant again asked appropriate

questions to determine the scope of the search. Defendant

indicated that the agents might find (presumably compromising)

images of him and his girlfriend, which the agents stated they were

not interested in. Defendant asked the agents if they were looking

for “girls that are younger age or something like that?” and when

the agents responded that they were, Defendant said “[y]eah, no go

right ahead.” Defendant was then presented with a consent to

search form, which was read to him and he signed. Again,

Defendant did not display any evidence of intoxication or

impairment when he gave his consent. Accordingly, there is no

basis on which to suppress the search of Defendant’s cell phone

and camera.

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                       III. CONCLUSION

    For the foregoing reasons, Defendant Rafael Mercado Berrios’

Motion to Suppress Statements and Evidence (d/e 47) is DENIED.


ENTER: June 1, 2021

                             /s/ Sue E. Myerscough
                             SUE E. MYERSCOUGH
                             UNITED STATES DISTRICT JUDGE




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